                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:24-CV-575-FDW-DCK

SHIRON VICK and VICK COMPANIES, LLC, )
                                     )
                                     )
              Plaintiffs,            )                                    ORDER
                                     )
     v.                              )
                                     )
AMES CONSTRUCTION, INC. and          )
NORTH CAROLINA DEPARTMENT OF         )
TRANSPORTATION.,                     )
                                     )
             Defendants.             )
                                     )

        THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

 Vice and Affidavit” (Document No. 35) filed by Local Counsel Zebulon D. Anderson on

 November 25, 2024.

        Applicant Nelson A. McKown seeks to appear as counsel pro hac vice for Defendant Ames

 Construction, Inc. Upon review and consideration of the motion, which was accompanied by

 submission of the necessary fee and information, the Court will grant the motion.

        IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

 For Admission Pro Hac Vice and Affidavit” (Document No. 35) is GRANTED. Nelson A.

 McKown is hereby admitted pro hac vice to represent Defendant Ames Construction, Inc.

        SO ORDERED.


                              Signed: November 26, 2024




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